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  5 Attorneys for Party-in-Interest and Appellant Erika Girardi

  6

  7

  8                            UNITED STATES BANKRUPTCY COURT

  9             CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

 10

 11 In re                                             CACB Case No. 2:20-bk-21022-BR

 12 GIRARDI KEESE,                                    Chapter 7

 13                 Debtor.                           CACD Case No. 2:21-cv-06951-SVW

 14                                                   APPELLANT’S DESIGNATION OF
                                                      RECORD ON APPEAL FROM
 15                                                   BANKRUPTCY COURT

 16
                                                      Judge:      Hon. Barry Russell
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              APPELLANT’S DESIGNATION OF RECORD ON APPEAL FROM BANKRUPTCY COURT
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  1         Party-in-Interest and Appellant Erika Girardi (“Ms. Girardi”), in accordance with Federal

  2 Rule of Appellate Procedure 6(b)(2)(B), hereby designates the following items to be included in

  3 the record on her appeal from the Memorandum of Decision and Order Denying Motion for

  4 Reconsideration, entered by the United States Bankruptcy Court for the Central District of

  5 California in the above-captioned case on August 11, 2021 (Docket Nos. 571 and 572).

  6

  7                                  DESIGNATION OF RECORD

  8
       Bankruptcy Date Entered
  9
       Docket No.       in Docket            Brief Description of the Document or Transcript
 10
                                      Chapter 7 Trustee’s Application to Employ the Law Offices of
 11
           318         04/26/2021     Ronald Richards & Associates, A.P.C., as Special Litigation
 12
                                      Counsel
 13
                                      Notice of Chapter 7 Trustee’s Application to Employ the Law
 14
           319          4/26/2021     Offices of Ronald Richards & Associates, A.P.C., as Special
 15
                                      Litigation Counsel
 16
                                      Opposition to Chapter 7 Trustee’s Application to Employ the
 17
           333         05/10/2021     Law Offices of Ronald Richards & Associates, A.P.C., as
 18
                                      Special Litigation Counsel
 19
                                      Notice of Hearing on Chapter 7 Trustee’s Application to Employ
 20
           345         05/18/2021     the Law Offices of Ronald Richards & Associates, A.P.C., as
 21
                                      Special Litigation Counsel
 22
                                      Reply to Opposition to Chapter 7 Trustee’s Application to
 23
           374         06/01/2021     Employ the Law Offices of Ronald Richards & Associates,
 24
                                      A.P.C., as Special Litigation Counsel
 25
                                      Notice of Lodgment of Order Granting Chapter 7 Trustee’s
 26
           391         06/09/2021     Application to Employ the Law Offices of Ronald Richards &
 27
                                      Associates, A.P.C., as Special Litigation Counsel
 28

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              APPELLANT’S DESIGNATION OF RECORD ON APPEAL FROM BANKRUPTY COURT
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  1                               Order Granting Application to Employ the Law Offices of
  2       392       6/10/2021     Ronald Richards & Associates A.P.C. as Special Litigation
  3                               Counsel
  4       407      06/17/2021     Transcript Order Form re Hearing Date 06/08/2021
  5       413      06/21/2021     Transcript Record Transmittal re Hearing Date 06/08/2021
  6       422      06/22/2021     Transcript re Hearing Held 06/08/2021
  7                               Motion for Reconsideration of Order Granting Chapter 7
  8       437      06/24/2021     Trustee’s Application to Employ the Law Offices of Ronald
  9                               Richards & Associates, A.P.C., as Special Litigation Counsel
 10                               Order on Notice of Motion and Motion for Reconsideration of
 11                               Order Granting Chapter 7 Trustee’s Application to Employ the
          438      06/25/2021
 12                               Law Offices of Ronald Richards & Associates, A.P.C., as
 13                               Special Litigation Counsel
 14                               Adversary Complaint by Elissa Miller against Erika Girardi,
 15       491           7/14/21   Pretty Mess, Inc., a corporation, and EJ Global, LLC, a limited
 16                               liability company (Case 2:21-ap-01155)
 17                               Chapter 7 Trustee’s Opposition to Motion for Reconsideration of
 18                               Order Granting Chapter 7 Trustee’s Application to Employ the
          496      07/16/2021
 19                               Law Offices of Ronald Richards & Associates, A.P.C., as
 20                               Special Litigation Counsel
 21                               Chapter 7 Trustee’s Evidentiary Objections to the Declaration of
 22       497      07/16/2021     Evan C. Borges and Exhibits 1 and 2 Attached Thereto in
 23                               Support of Motion for Reconsideration
 24                               Special Litigation Counsel’s Opposition to Motion of Erika
 25                               Girardi to Reconsider Chapter 7 Trustee’s Application to
          498      07/16/2021
 26                               Employ the Law Offices of Ronald Richards & Associates,
 27                               A.P.C.; Declarations of Ronald Richards, Erin Joyce, and Bjorn
 28

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  1                             Wallman in Support of Opposition.
  2                             Special Litigation Counsel’s Objections to the Declaration of
          499       7/16/2021
  3                             Evan C. Borges in Support of Motion for Reconsideration
  4                             Reply Memorandum in Support of Motion for Reconsideration
  5                             of Order Granting Chapter 7 Trustee’s Application to Employ
          511      07/23/2021
  6                             the Law Offices of Ronald Richards & Associates, A.P.C., as
  7                             Special Litigation Counsel
  8                             Evidentiary Objections to the Declaration of Erin Joyce in
  9       512      07/23/2021   Support of Opposition to Motion for Reconsideration of Order
 10                             Appointing Special Litigation Counsel
 11                             Response to Chapter 7 Trustee’s Evidentiary Objections to
 12       513       7/23/2021   Declaration of Evan C. Borges and Exhibits 1 and 2 Attached
 13                             Thereto in Support of Motion for Reconsideration
 14                             Response to Chapter 7 Trustee’s Evidentiary Objections to
 15       514      07/23/2021   Declaration of Evan C. Borges and Exhibits 1 and 2 Attached
 16                             Thereto
 17       515      07/23/2021   Notice of Errata
 18                             Chapter 7 Trustee’s Evidentiary Objections to Declaration of
 19       519      07/26/2021   Evan C. Borges and Exhibit 3 Attached Thereto and Reply in
 20                             Support of Motion for Reconsideration
 21                             Memorandum of Decision on Erika’s Girardi’s Motion for
 22                             Reconsideration of Order Granting Chapter 7 Trustee’s
          571      08/11/2021
 23                             Application to Employ the Law Offices of Ronald Richards &
 24                             Associates, A.P.C., as Special Litigation Counsel
 25                             Order Denying Motion for Reconsideration of Order Granting
 26       572      08/11/2021   Chapter 7 Trustee’s Application to Employ the Law Offices of
 27                             Ronald Richards & Associates, A.P.C., as Special Litigation
 28

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  1                             Counsel
  2                             Certificate of Notice of Order Denying Motion for
  3                             Reconsideration of Order Granting Chapter 7 Trustee’s
          589      08/16/2021
  4                             Application to Employ the Law Offices of Ronald Richards &
  5                             Associates, A.P.C., as Special Litigation Counsel
  6       632      08/25/2021   Notice of Appeal and Statement of Election
  7

  8 DATED: September 8, 2021              GREENBERG GROSS LLP
  9

 10
                                          By:
 11                                             Evan C. Borges
                                                Attorneys for Party-in-Interest and Appellant Erika
 12                                             Girardi
 13

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            APPELLANT’S DESIGNATION OF RECORD ON APPEAL FROM BANKRUPTY COURT
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  1                             PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is:
  3
                                           650 Town Center Drive, Suite 1700
  4                                             Costa Mesa, CA 92626

  5   A true and correct copy of the foregoing document entitled (specify): APPELLANT’S DESIGNATION
      OF RECORD ON APPEAL FROM BANKRUPTCY COURT will be served or was served (a) on the
  6   judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

  7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  8   hyperlink to the document. On September 8, 2021, I checked the CM/ECF docket for this bankruptcy case
      or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
  9   receive NEF transmission at the email addresses stated below:

 10
                                                                 Service information continued on attached page
 11
      2. SERVED BY UNITED STATES MAIL:
 12   On September 8, 2021, I served the following persons and/or entities at the last known addresses in this
      bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
 13   in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
      constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
 14   document is filed.

 15
                                                                 Service information continued on attached page
 16
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
 17   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
      September 8, 2021, I served the following persons and/or entities by personal delivery, overnight mail
 18   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
 19   mail to, the judge will be completed no later than 24 hours after the document is filed.

 20
                                                                 Service information continued on attached page
 21
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 22
        September 8, 2021 Cheryl Winsten
 23     Date                      Printed Name                   Signature

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  1                                    In re GIRARDI KEESE
                                    CACB Case No. 2:20-bk-21022-BR
  2                                CACD Case No. 2:21-cv-06951-SVW
  3 1.        TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING:
  4 The following is the list of parties who are currently on the list to receive email notice/service for
      this case.
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  8
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 10           Helen@MarguliesFaithLaw.com;Angela@MarguliesFaithLaw.com;Vicky@MarguliesFait
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 19
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 23
          Carmela Pagay      ctp@lnbyb.com
 24
          Leonard Pena lpena@penalaw.com,
 25        penasomaecf@gmail.com;penalr72746@notify.bestcase.com

 26       Michael J Quinn mquinn@vedderprice.com, ecfladocket@vedderprice.com,michael-
           quinn-2870@ecf.pacerpro.com
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  6         Richard M Steingard     , awong@steingardlaw.com

  7         Philip E Strok pstrok@swelawfirm.com,
             gcruz@swelawfirm.com;1garrett@swelawfirm.com;jchung@swelawfirm.com
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  9
            United States Trustee (LA)    ustpregion16.la.ecf@usdoj.gov
 10
            Eric D Winston     ericwinston@quinnemanuel.com
 11
            Christopher K.S. Wong      christopher.wong@arentfox.com, yvonne.li@arentfox.com
 12
            Timothy J Yoo      tjy@lnbyb.com
 13
 14 2.       SERVED BY UNITED STATES MAIL:
      Debtor:
 15 Girardi Keese
    1126 Wilshire Blvd
 16 Los Angeles, CA 90017
 17 ABIR COHEN TREYZON SALO, LLP, a California limited liability partnership (ACTS)
 18 16001 Ventura Boulevard, Suite 200
      Encino, CA 91436
 19
      Donlin, Recano & Company
 20 6201 15th Ave
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 21
 22 IDiscovery Solutions
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 23 Costa Mesa, CA 92626
 24 James W Spertus
    Spertus Landes & Umhoffer LLP
 25
    1990 South Bundy Dr Ste 705
 26 Los Angeles, CA 90025
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  6 Andrew W Zepeda
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    1875 Century Park East Ste 2100
  8 Los Angeles, CA 90067
  9
      3.     SERVED BY PERSONAL DELIVERY:
 10
    U.S. Bankruptcy Court:
 11 U.S. Bankruptcy Court
    Hon. Barry Russell
 12 255 E. Temple Street, Suite 1660
      Los Angeles, CA 90012
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